Case 5:21-cv-00616-JWH-SP Document 199 Filed 10/04/22 Page 1 of 3 Page ID #:3720




   1   Sean C. Wagner (Pro Hac Vice)
       Sean.Wagner@wagnerhicks.law
   2
       Derek Bast (Pro Hac Vice)
   3   Derek.Bast@wagnerhicks.law
       WAGNER HICKS PLLC
   4
       831 East Morehead Street, Suite 860
   5   Charlotte NC 28202
   6
       Telephone: (704) 705-7538
       Facsimile: (704) 705-7787
   7
       John Forest Hilbert, Esq. (SBN 105827)
   8   jhilbert@hscallaw.com
   9   Joseph A. LeVota, Esq. (SBN 226760)
       jlavota@hscallaw.com
  10   HILBERT & SATTERLY LLP
  11   409 Camino del Rio S. #104
       San Diego, California 92108
  12   Telephone: (619) 795-0300
  13   Facsimile: (619) 501-6855

  14                      UNITED STATES DISTRICT COURT
  15                     CENTRAL DISTRICT OF CALIFORNIA
  16    GOLDWATER BANK, N.A.,                Case No. 5:21-cv-00616-JWH-SPx
  17                      Plaintiff,         Discovery Document referred to Hon.
                                             Sheri Pym
  18
              v.                             WITHDRAWAL OF NOTICE OF
  19
                                             MOTION AND PLAINTIFF’S MOTION
  20    ARTUR ELIZAROV, ET AL.               TO COMPEL SUBPOENA DUCES
  21
                                             TECUM RESPONSES FROM NON-
                          Defendants.        PARTIES RITE CARE HOSPICE, INC.
  22                                         ECIVIS, INC., AND PAEDAE, INC.
  23                                         Hearing date: October 11, 2022
  24                                         Hearing time: 10:00 AM
                                             Courtroom: Hon. Sheri Pym, Courtroom 3
  25
                                             Pre-Trial Conf.: February 3, 2023
  26                                         Trial Date: February 27, 2023
  27                                         Discovery Cut-off: October 14, 2022
  28               WITHDRAWAL OF NOTICE OF PLAINTIFF’S MOTION TO COMPEL
                                            -1-
Case 5:21-cv-00616-JWH-SP Document 199 Filed 10/04/22 Page 2 of 3 Page ID #:3721




   1         Pursuant to Local Rule 7-16, Plaintiff Goldwater Bank, N.A. (“Goldwater”),
   2
       through undersigned counsel, hereby withdraws its Notice of Motion and Plaintiff’s
   3
       Motion to Compel Subpoena Duces Tecum Responses from Non-Parties Rite Care
   4
   5   Hospice, Inc., eCivis, Inc., and Paedae, Inc. (ECF 189) no more than seven (7) days
   6
       prior to the scheduled hearing date.
   7
   8
             Dated: October 4, 2022.

   9                                          Respectfully submitted,
  10
                                              WAGNER HICKS PLLC
  11
  12                                          By: /s/ Sean C. Wagner
                                                     Sean C. Wagner, Esq.
  13                                                 Derek M. Bast, Esq.
  14
                                                    AND
  15
  16                                          HILBERT & SATTERLY LLP

  17                                          By: /s/ Joseph A. LeVota
  18                                                 John Forest Hilbert, Esq.
                                                     Joseph A. LeVota, Esq.
  19
  20                                          ATTORNEYS FOR DEFENDANT
                                              GOLDWATER BANK N.A.
  21
  22
  23
  24
  25
  26
  27
  28              WITHDRAWAL OF NOTICE OF PLAINTIFF’S MOTION TO COMPEL
                                           -2-
Case 5:21-cv-00616-JWH-SP Document 199 Filed 10/04/22 Page 3 of 3 Page ID #:3722




   1                             CERTIFICATE OF SERVICE
   2
             I hereby certify that I caused the foregoing Withdrawal of Notice of Motion
   3
       and Plaintiff’s Motion to Compel to be electronically filed with the Clerk of Court
   4
   5   using the CM/ECF system, which will send notification of such filing to all registered
   6
       CM/ECF users.
   7
   8
             I also hereby certify that I caused the foregoing Withdrawal of Notice of

   9   Motion and Plaintiff’s Motion to Compel to be sent to Non-Party Rite Care Hospice,
  10
       Inc., Paedae, Inc. and eCIVIS, Inc. via United States Postal Service, certified mail,
  11
  12   return receipt requested, to the addressees at the following addresses:

  13         PaeDae, Inc. d/b/a The Mobile Majority
  14         c/o CSC – Lawyers Incorporating Service, registered agent
             2710 Gateway Oaks Dr, Ste 150N
  15         Sacramento, CA 95833
  16
             Rite Care Hospice, Inc.
  17         c/o its Attorney, Ilya Alexeyeff (Defendant Pro per)
  18         LOIA, Inc.
             727 West 7th Street PH 1-13
  19         Los Angeles, CA 90017
  20
             eCivis, Inc.
  21         c/o Registered Agents, Inc., registered agent
  22         1401 21st Street, Ste R
             Sacramento, CA 95811
  23
  24         This the 4th day of October, 2022.

  25
  26                                          /s/ Sean C. Wagner
                                              Sean C. Wagner
  27
  28              WITHDRAWAL OF NOTICE OF PLAINTIFF’S MOTION TO COMPEL
                                           -3-
